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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                           )
                                                    )
                Plaintiff,                          )
                                                    )
       vs.                                          )              Cr. No. 05-1849 JH
                                                    )
DANA JARVIS,                                        )
                                                    )
                Defendant.                          )


                       ORDER EXTENDING UNITED STATES’
             TIME TO RESPOND TO DEFENDANT’S MOTION TO EXCLUDE

       THIS MATTER having come before the Court upon the United States’ unopposed

motion for an extension of time in which to respond to defendant Dana Jarvis’ motion to exclude

filed August 3, 2006, and the Court being otherwise fully advised in the premises FINDS that the

motion is well taken and should be granted.

       NOW, THEREFORE, it is hereby ordered that the United States’ response to the

defendant’s Motion to Exclude Consideration of the Contents Specific Wiretapped Phone Call at

Any Future Proceeding, filed August 3, 2006, shall be due when its response to all motions to

suppress is due.



                                              ________________________________
                                              UNITED STATES DISTRICT JUDGE

Submitted by:


STEPHEN R. KOTZ
Assistant U.S. Attorney
